Case 8:19-cv-01257-JFW-PJW Document 33 Filed 08/23/19 Page 1 of 5 Page ID #:206



   1 Aaron D. Aftergood (239853)
         aaron@aftergoodesq.com
   2 THE AFTERGOOD LAW FIRM
       1880 Century Park East, Suite 200
   3 Los Angeles, CA 90067
       Telephone: (310) 550-5221
   4 Facsimile: (310) 496-2840
   5 Taylor T. Smith (admitted pro hac vice)
         tsmith@woodrowpeluso.com
   6 WOODROW & PELUSO, LLC
       3900 East Mexico Avenue, Suite 300
   7 Denver, Colorado 80210
       Telephone: (720) 213-0675
   8 Facsimile: (303) 927-0809
   9 Attorneys for Plaintiff and the Classes
  10
                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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  13
       BRYCE ABBINK,                           Case No. 8:19-cv-01257-JFW-PJWx
  14
                       Plaintiffs,             Hon. John F. Walter
  15
              v.                               JOINT STIPULATION TO
  16                                           CONTINUE HEARING RE:
       EXPERIAN INFORMATION                    DEFENDANT EXPERIAN
  17   SOLUTIONS, INC., et al.,                INFORMATION SOLUTIONS,
                                               INC.’S MOTION TO DISMISS
  18                   Defendants.
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                                               Complaint filed: June 21, 2019
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                                                             STIP. TO CONTINUE HEARING ON
                                                                           MOTION TO DISMISS
                                                               Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 33 Filed 08/23/19 Page 2 of 5 Page ID #:207



   1         Plaintiff Bryce Abbink (“Plaintiff”) and Defendant Experian Information
   2   Solutions, Inc. (“Experian”), through their respective counsel, hereby stipulate as
   3   follows:
   4                                          RECITALS
   5         WHEREAS, on June 21, 2019, Plaintiff filed his complaint in this matter in
   6   the United States District Court, Central District of California (the “Complaint”);
   7         WHEREAS, Experian’s response to Plaintiff’s Complaint was due on August
   8   22, 2019;
   9         WHEREAS, on August 14, 2019, Experian filed its Notice of Motion and
  10   Motion to Dismiss (“Motion to Dismiss”), which set the hearing date for September
  11   16, 2019. (Dkt. 25.)
  12         WHEREAS, on August 15, 2019, the Court issued an order setting a
  13   scheduling conference for October 7, 2019. (Dkt. 26.)
  14         WHEREAS, Plaintiff requests a brief one week extension of the hearing on
  15   Experian’s Motion to Dismiss, and Experian does not oppose.
  16         WHEREAS, Plaintiff requests the additional time to allow adequate time to
  17   prepare and respond to the arguments raised in Experian’s Motion to Dismiss.
  18   Further, the Parties have been extensively engaged in litigating the above captioned
  19   case—including, the Parties working to file various motions, serving and
  20   responding to discovery requests, drafting and filing the Joint Stipulated Protective
  21   Order, and meeting and conferring on multiple issues that have been raised thus far.
  22         WHEREAS, the extension is not being sought for any improper purpose and
  23   will not disrupt any other deadline.
  24         WHEREAS, the Parties previously sought to extend the deadline for
  25   Experian to respond to Plaintiff’s Complaint, and Plaintiff’s deadline to file his
  26   motion for class certification. (Dkt. 17.)
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  28                                                             STIP. TO CONTINUE HEARING ON
                                                                               MOTION TO DISMISS
                                                -2-                Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 33 Filed 08/23/19 Page 3 of 5 Page ID #:208



   1         WHEREAS, on July 17, 2019, the Court granted the extension of deadline
   2   for Experian to respond to the Complaint, and denied the extension to for Plaintiff
   3   to file his motion for class certification. (Dkt. 19.)
   4         WHEREAS, the new proposed hearing date on Experian’s Motion to Dismiss
   5   will be September 23, 2019.
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  28                                                            STIP. TO CONTINUE HEARING ON
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                                                  -3-             Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 33 Filed 08/23/19 Page 4 of 5 Page ID #:209



   1                                     STIPULATION
   2         IT IS HEREBY STIPULATED, by and between the parties to this action,
   3   through their respective attorneys of record, as follows:
   4         1.     The hearing regarding Experian’s Motion to Dismiss should be
   5   continued until September 23, 2019.
   6         Pursuant to Local Rule 5-4.3.4, Taylor T. Smith hereby attests that the
   7   following signatories concur in the filing’s content and have authorized the filing.
   8         IT IS SO STIPULATED.
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  28                                                               STIP. TO CONTINUE HEARING ON
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                                               -4-                   Case No. 8:19-cv-01257-JFW-PJWx
Case 8:19-cv-01257-JFW-PJW Document 33 Filed 08/23/19 Page 5 of 5 Page ID #:210



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   2
                                            By: Taylor T. Smith
   3
                                                Aaron D. Aftergood (239853)
   4                                            The Aftergood Law Firm
                                                1880 Century Park East, Suite 200
   5                                            Los Angeles, CA 90067
                                                Telephone: (310) 550-5221
   6                                            Facsimile: (310) 496-2840
   7                                            Taylor T. Smith*
                                                Woodrow & Peluso, LLC
   8                                            3900 East Mexico Avenue, Suite 300
                                                Denver CO, 80210
   9                                            Telephone: (720) 907-7628
                                                Facsimile: (303) 927-0809
  10
                                                *Pro Hac Vice
  11
  12                                        Attorneys for Plaintiff
                                            Bryce Abbink
  13
  14
                                            By: Ryan D. Ball
  15                                          Richard J. Grabowski
                                              Ryan Ball
  16                                          Jack Williams IV
                                              JONES DAY
  17                                          3161 Michelson Drive, Suite 800
                                              Irvine, CA 92612.4408
  18
                                            Attorneys for Defendant
  19                                        Experian Information Solutions, Inc
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  28                                                        STIP. TO CONTINUE HEARING ON
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                                          -5-                 Case No. 8:19-cv-01257-JFW-PJWx
